                                  Case: 1:19-cv-00574 Document #: 2 Filed: 01/29/19 Page 1 of 2 PageID #:18
ILND 44 (Rev. 09/07/18)                                                          CIVIL COVER SHEET
The ILND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (See instructions on next page of this form.)
I. (a) PLAINTIFFS                                                                                                           DEFENDANTS
    LINDA A ROBINET                                                                                                         United States of America


    (b) County of Residence of First Listed Plaintiff                                                                       County of Residence of First Listed Defendant
                                         (Except in U.S. plaintiff cases)                                                   (In U.S. plaintiff cases only)
                                                                                                                            Note: In land condemnation cases, use the location of the tract of land involved.

    (c) Attorneys (firm name, address, and telephone number)                                                                 Attorneys (if known)

    Erron H. Fisher, Fisher & LaMonica, P.C., 100 S Wacker Drive, Suite 1160,
    Chicago, Illinois 60606


II. BASIS OF JURISDICTION (Check one box, only.)                                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (For Diversity Cases Only.)
                                                                                                                   (Check one box, only for plaintiff and one box for defendant.)
    1     U.S. Government                    3 Federal Question                                                                                     PTF        DEF                                                      PTF         DEF
            Plaintiff                            (U.S. Government not a party)                                     Citizen of This State                  1         1 Incorporated or Principal Place                         4       4
                                                                                                                                                                         of Business in This State

■   2     U.S. Government                    4 Diversity                                                           Citizen of Another State                  2           2    Incorporated and Principal Place                5        5
            Defendant                           (Indicate citizenship of parties in Item III.)                                                                                of Business in Another State

                                                                                                                   Citizen or Subject of a                   3           3    Foreign Nation                                  6        6
                                                                                                                     Foreign Country
IV. NATURE OF SUIT (Check one box, only.)
             CONTRACT                                                  TORTS                                            PRISONER PETITIONS                                   LABOR                         OTHER STATUTES
    110 Insurance                            PERSONAL INJURY                   PERSONAL INJURY                         510 Motions to Vacate Sentence            710 Fair Labor Standards Act            375 False Claims Act
    120 Marine                                310 Airplane                      530 General                            530 General                               720 Labor/Management Relations          376 Qui Tam (31 USC 3729 (a))
    130 Miller Act                            315 Airplane Product              367 Health Care/                       535 Death Penalty                         740 Railway Labor Act                   400 State Reapportionment
    140 Negotiable Instrument                      Liability                        Pharmaceutical                     Habeas Corpus:                            751 Family and Medical                  410 Antitrust
    150 Recovery of Overpayment               320 Assault, Libel & Slander          Personal Injury                    540 Mandamus & Other                          Leave Act                           430 Banks and Banking
        & Enforcement of Judgment             330 Federal Employers’                Product Liability                  550 Civil Rights                          790 Other Labor Litigation              450 Commerce
    151 Medicare Act                              Liability                     368 Asbestos Personal Injury           555 Prison Condition                      791 Employee Retirement                 460 Deportation
    152 Recovery of Defaulted Student         340 Marine                             Product Liability                 560 Civil Detainee – Conditions               Income Security Act                 470 Racketeer Influenced and
        Loans (Excludes Veterans)             345 Marine Product Liability                                             of Confinement                                                                        Corrupt Organizations
    153 Recovery of Veteran’s Benefits        350 Motor Vehicle                                                                                                                                          480 Consumer Credit
    160 Stockholders’ Suits                   355 Motor Vehicle                PERSONAL PROPERTY                                                                  PROPERTY RIGHTS                        485 Telephone Consumer
    190 Other Contract                            Product Liability             370 Other Fraud                                                                  820 Copyrights                              Protection Act (TCPA)
    195 Contract Product Liability            360 Other Personal Injury         371 Truth in Lending                                                             830 Patent                              490 Cable/Sat TV
    196 Franchise                        ■    362 Personal Injury -             380 Other Personal                                                               835 Patent – Abbreviated                850 Securities/Commodities/
                                                  Medical Malpractice               Property Damage                                                                  New Drug Application                    Exchange
                                                                                385 Property Damage                                                              840 Trademark                           890 Other Statutory Actions
                                                                                    Product Liability                                                                                                    891 Agricultural Acts
                                                                                                                                                                                                         893 Environmental Matters
          REAL PROPERTY                          CIVIL RIGHTS                     BANKRUPTCY                           FORFEITURE/PENALTY                          SOCIAL SECURITY                       895 Freedom of Information Act
    210 Land Condemnation                     440 Other Civil Rights            422 Appeal 28 USC 158                  625 Drug Related Seizure                  861 HIA (1395ff)                        896 Arbitration
    220 Foreclosure                           441 Voting                        423 Withdrawal 28 USC 157                  of Property 21 USC 881                862 Black Lung (923)                    899 Administrative Procedure
    230 Rent Lease & Ejectment                442 Employment                                                           690 Other                                 863 DIWC/DIWW (405(g))                      Act/Review or Appeal of
    240 Torts to Land                         443 Housing/                                                                                                       864 SSID Title XVI                          Agency Decision
    245 Tort Product Liability                    Accommodations                 IMMIGRATION                                                                     865 RSI (405(g))                        950 Constitutionality of
    290 All Other Real Property               445 Amer. w/Disabilities -        462 Naturalization                                                                                                           State Statutes
                                                  Employment                        Application
                                              446 Amer. w/Disabilities -        463 Habeas Corpus - Alien                                                           FEDERAL TAXES
                                                  Other                             Detainee (Prisoner Petition)                                                 870 Taxes (U.S. Plaintiff
                                              448 Education                     465 Other Immigration                                                            or Defendant)
                                                                                    Actions                                                                      871 IRS—Third Party
                                                                                                                                                                      26 USC 7609

V. ORIGIN (Check one box, only.)
        1 Original                2 Removed from                 3     Remanded from                         4 Reinstated or                   5     Transferred from               6    Multidistrict        8    Multidistrict
          Proceeding                State Court                        Appellate Court                         Reopened                              Another District                    Litigation                Litigation
                                                                                                                                                     (specify)                                                     Direct File
VI. CAUSE OF ACTION (Enter U.S. Civil Statute under which you are filing and                                   VII. PREVIOUS BANKRUPTCY MATTERS (For nature of suit 422 and 423, enter the
write a brief statement of cause.)                                                                             case number and judge for any associated bankruptcy matter previously adjudicated by a judge of this Court.
                                                                                                               Use a separate attachment if necessary.)
42 U.S.C. sect. 233
VIII. REQUESTED IN                                          Check if this is a class action Under rule 23, Demand $                                                     Check Yes only if demanded in complaint.
      COMPLAINT:                                            F.R.CV.P.                                                                                                   Jury Demand:           Yes      No
IX. RELATED CASE(S)                      (See instructions)
     IF ANY                                                     Judge                                                                                    Case Number
X. Is this a previously dismissed or remanded case?                                   Yes                No        If yes, Case #                   Name of Judge
Date                                                            Signature of attorney of record
 1/28/2019                                                       s/ Gina Brock
                           Case: INSTRUCTIONS
                                 1:19-cv-00574  Document
                                              FOR ATTORNEYS#: 2 Filed: 01/29/19
                                                            COMPLETING          Page
                                                                        CIVIL COVER   2 ofFORM
                                                                                    SHEET  2 PageID
                                                                                               JS 44 #:19
                                                                        Authority for Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required by law,
except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed. The attorney
filing a case should complete the form as follows:

I.        (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only the
full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving both
name and title.

            (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time of
filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases, the
county of residence of the "defendant" is the location of the tract of land involved.)

           (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting in this
section "(see attachment)".

II.         Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X" in one of
the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.

United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the Constitution,
an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box 1 or 2 should be
marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity cases.)

III.       Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section
for each principal party.

IV.         Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select the
most definitive.

V.           Origin. Place an "X" in one of the six boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition for
removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict litigation
transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box is
checked, do not check (5) above.

VI.       Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.      Previous Bankruptcy Matters For nature of suit 422 and 423 enter the case number and judge for any associated bankruptcy matter previously adjudicated
by a judge of this court. Use a separate attachment if necessary.

VIII.      Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P. Demand. In this space enter the
actual dollar amount being demanded or indicate other demand, such as a preliminary injunction Jury Demand. Check the appropriate box to indicate whether or not a
jury is being demanded.

 IX.      Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket numbers and the
corresponding judge names for such cases.

X.          Refiling Information. Place an "X" in the Yes box if the case is being refiled or if it is a remanded case, and indicate the case number and name of judge. If
this case is not being refiled or has not been remanded, place an “X” in the No box.

             Date and Attorney Signature. Date and sign the civil cover sheet.

Rev. 09/07/2018
